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               UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF PENNSYLVANIA
 DOUGLAS BRUCE,
                              CIVIL ACTION - LAW
              Plaintiff,      JURY TRIAL DEMANDED
     v.
                              THE HONORABLE
 CITY OF PITTSTON,            KAROLINE MEHALCHICK
 PENNSYLVANIA,
                              No. 3:23-cv-00711-KM
              Defendant.

     DEFENDANT CITY OF PITTSTON’S AMENDED ANSWER AND
      AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

      Defendant City of Pittston (the “City”), by and through its undersigned

counsel, hereby submits this amended answer and raises affirmative defenses to the

complaint of Plaintiff Douglas Bruce (“Plaintiff”) pursuant to Fed.R.Civ.P.

15(a)(1)(A) as follows:

                          JURISDICTION AND VENUE

      1.     Admitted in part; denied in part, including denied as stated. It is

admitted only that Plaintiff is a resident of El Paso County, Colorado. By way of

further response, Plaintiff maintains a mailing address of P.O. Box 26018, Colorado

Springs, Colorado 80936 and a street address of 4345 Iron Horse Trail, Colorado

Springs, Colorado 80917. By way of further response, any suggestion that Plaintiff’s
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complaint advances legally sufficient, non-frivolous Constitutional claims against

the City or that the City is liable to Plaintiff is specifically denied.

       2.     Denied, including denied as stated. The City is a Pennsylvania home

rule municipality established pursuant to the Pennsylvania Home Rule Charter and

Optional Plans Law. By way of further response, any suggestion that the City is a

proper party to these proceedings or is liable to Plaintiff is specifically denied.

                           JURSIDICTION AND VENUE

       3.     Denied.

       4.     Denied.

       5.     Denied.

       6.     Denied.

                                         FACTS

       7.     Admitted. By way of further response, at no time has Plaintiff been

divested for his fee simple interest in the property identified as P.I.N. 72-D11SE3-

011-011-000 located at 385 North Main Street, City of Pittston, Pennsylvania 18640

(the “Property”). See Luzerne County Recorder of Deeds Instrument #201830674

attached hereto as Exhibit “A” at pp. 1-4.

       8.     Denied as stated. On June 25, 2019, the unsafe, dilapidated and vacant

two-story building (the “Building”) formerly situated upon the Property was

demolished following repeated efforts by the City to compel Plaintiff to remediate
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the Property. By way of further response, on September 18, 2014, the Building was

condemned by the City “due to multiple, serious, persistent, unresolved violations”

of the International Property Maintenance Code. On April 25, 2018, Thomas

Leonard, P.E. of TGL Engineering, Inc. issued a report opining that the condition of

the Building “presents a serious hazard to the public.” On November 26, 2018, City

Code Enforcement, Officer Harry Smith, issued an enforcement notice to Plaintiff

directing that the Building be razed within thirty (30) days in accordance with §

110.1 of the Property Maintenance Code, advising Plaintiff that he was twenty (20)

days to exercise his appellate rights through the City of Pittston Property

Maintenance Code Appeals Board, and notifying Plaintiff that his “[f]ailure to

comply may result in the issuance of a non-traffic citation for each violation of the

property maintenance code for day offense continues” and that “[u]pon conviction,

a fine of not less than $500.00 or more than $2,500.00 and court costs will be

imposed per violation, and a lien may be placed upon the property.” On April 16,

2019, Thomas Leonard, P.E. of TGL Engineering, Inc. issued a supplemental report

opining that “the building continues to present hazards to the general public,”

including “physical injury (wall failure/loose shingles), fire (trespassers), mold

(stormwater infiltration) and disease (animal carcasses)” and recommended

“demolition of the structure for health and safety of the general public.” On May 8,

2019, Mr. Smith issued a second enforcement notice to Plaintiff, via certified mail
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and personal service through the El Paso County Sheriff’s Office, informing Plaintiff

that due to “the current condition of the property, it is my opinion, after consultation

with an engineer, that this property is so deteriorated and dilapidated that it is

dangerous, unsafe, insanitary and otherwise unfit for human habitation or occupancy

and it is no longer able to be repaired,” directing that Plaintiff demolish the Building

and notifying Plaintiff that “[p]ursuant to section 110.3 of the Property Maintenance

Code, your failure to comply with this demolition order within thirty (30) days will

result in the demolition of the property by the City of Pittston with all costs being

charged against the real estate.” The May 8, 2019, enforcement notice also informed

Plaintiff that he had twenty (20) days to appeal the enforcement action through the

City of Pittston Property Maintenance Code Appeals Board, as set forth in § 111 of

the Property Maintenance Code. See April 25, 2018, report of Thomas Leonard,

P.E. of TGL Engineering, Inc. attached hereto as Exhibit “V” at p. 1; see also March

20, 2019, report of Thomas Leonard, P.E. of TGL Engineering, Inc. attached hereto

as Exhibit “W” at p. 1; see also April 16, 2019, report of Thomas Leonard, P.E. of

TGL Engineering, Inc. attached hereto as Exhibit “X” at p. 1; see also November 26,

2018, enforcement notice attached hereto as Exhibit “Y” at pp. 1-8; see also May 8,

2019, enforcement notice, certified mail return receipt and sheriff return of serve

attached to as Exhibit “B” at pp. 1-8.
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      9.     Denied. On May 8, 2019, City Code Enforcement Officer Harry Smith

(“Mr. Smith”) issued an enforcement notice to Plaintiff, via certified mail and

personal service through the El Paso County Sheriff, informing Plaintiff that due to

“the current condition of the property, it is my opinion, after consultation with an

engineer, that this property is so deteriorated and dilapidated that it is dangerous,

unsafe, insanitary and otherwise unfit for human habitation or occupancy and it is

no longer able to be repaired,” directing that Plaintiff demolish the Building and

notifying Plaintiff that “[p]ursuant to section 110.3 of the Property Maintenance

Code, your failure to comply with this demolition order within thirty (30) days will

result in the demolition of the property by the City of Pittston with all costs being

charged against the real estate.” See Exhibit “B” at pp. 1-8.

      10.    Denied. On May 8, 2019, Mr. Smith issued an enforcement notice to

Plaintiff, via certified mail and personal service by sheriff, informing Plaintiff that

due to “the current condition of the property, it is my opinion, after consultation with

an engineer, that this property is so deteriorated and dilapidated that it is dangerous,

unsafe, insanitary and otherwise unfit for human habitation or occupancy and it is

no longer able to be repaired,” directing that Plaintiff demolish the Building and

notifying Plaintiff that “[p]ursuant to section 110.3 of the Property Maintenance

Code, your failure to comply with this demolition order within thirty (30) days will

result in the demolition of the property by the City of Pittston with all costs being
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charged against the real estate.” See Exhibit “B” at pp. 1-8. By way of further

response, the May 8, 2019, enforcement notice also informed Plaintiff that he had

twenty (20) days to appeal the enforcement action through the City of Pittston

Property Maintenance Code Appeals Board, as set forth in § 111 of the International

Property Maintenance Code. Id. By way of further response, Plaintiff was served

with and responded to the citations issued by the City and was served with the Orders

of Sentence issued by Magisterial District Judge Alexandra Kokura-Kravitz

imposing the complained of fines. See Magisterial District Court docket for case

No. MJ-11104-NT-0000015-2019 attached hereto as Exhibit “C” at pp. 1-3; see also

Magisterial District Court docket for case No. MJ-11104-NT-0000023-2019

attached hereto as Exhibit “D” at pp. 1-3; see also Magisterial District Court docket

for case No. MJ-11104-NT-0000134-2019 attached hereto as Exhibit “E” at pp. 1-

3; see also Magisterial District Court docket for case No. MJ-11104-NT-0000133-

2019 attached hereto as Exhibit “F” at pp. 1-3; see also Magisterial District Court

docket for case No. MJ-11104-NT-0000270-2019 attached hereto as Exhibit “G” at

pp. 1-3; see also Magisterial District Court docket for case No. MJ-11104-NT-

0000364-2019 attached hereto as Exhibit “H” at pp. 1-3; see also Magisterial District

Court docket transcript for case No. MJ-11104-NT-0000364-2019 attached hereto

as Exhibit “Z” at pp. 1-2; see also January 17, 2019, motion to dismiss attached

hereto as Exhibit “I” at pp 1-4; see also February 8, 2019, renewed motion to dismiss
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attached hereto as Exhibit “J” at pp 1-4; see also April 3, 2019, re-renewed motion

to dismiss attached hereto as Exhibit “K” at p. 1; see also April 16, 2019, re-re-re-

re-renewed motion to dismiss attached hereto as Exhibit “L” at pp. 1-3; see also May

23, 2019, Order Imposing Sentence in case No. MJ-11104-NT-0000015-2019

attached hereto as Exhibit “M” at pp. 1-2; see also May 23, 2019, Order Imposing

Sentence in case No. MJ-11104-NT-0000023-2019 attached hereto as Exhibit “N”

at pp. 1-2; see also May 23, 2019, Order Imposing Sentence in case No. MJ-11104-

NT-0000133-2019 attached hereto as Exhibit “O” at pp. 1-2; see also May 23, 2019,

Order Imposing Sentence in case No. MJ-11104-NT-0000134-2019 attached hereto

as Exhibit “P” at pp. 1-2; see also May 23, 2019, Order Imposing Sentence in case

No. MJ-11104-NT-0000270-2019 attached hereto as Exhibit “Q” at pp. 1-2; see also

Resolution Number 12275 attached hereto as Exhibit “S” at pp. 1-3; see also

International Property Maintenance Code, Chapter 1 attached hereto as Exhibit “T”

at p. 1-10; see also Code of the City of Pittston, Chapter 370 attached hereto as

Exhibit “U” at pp. 1-4.

      11.    Denied.

      12.    Denied. On May 8, 2019, Mr. Smith issued an enforcement notice to

Plaintiff, via certified mail and personal service through the El Paso County Sheriff,

informing Plaintiff that due to “the current condition of the property, it is my opinion,

after consultation with an engineer, that this property is so deteriorated and
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dilapidated that it is dangerous, unsafe, insanitary and otherwise unfit for human

habitation or occupancy and it is no longer able to be repaired,” directing that

Plaintiff demolish the Building and notifying Plaintiff that “[p]ursuant to section

110.3 of the Property Maintenance Code, your failure to comply with this demolition

order within thirty (30) days will result in the demolition of the property by the City

of Pittston with all costs being charged against the real estate.” See Exhibit “B” at

pp. 1-8. By way of further response, the May 8, 2019, enforcement notice also

informed Plaintiff that he had twenty (20) days to appeal the enforcement action

through the City of Pittston Property Maintenance Code Appeals Board, as set forth

in § 111 of the International Property Maintenance Code. Id.

        13.   Denied.

        14.   Denied. By way of further response, on or about October 22, 2012,

Plaintiff, through a straw person, purchased the Property for $17,500.00 from

Deutsche Bank National Trust Company. See Luzerne County Recorder of Deeds

Instrument #6033714 attached hereto as Exhibit “R” at p. 1; see also Exhibit “A” at

p. 4.

        15.   Denied. On May 8, 2019, Mr. Smith issued an enforcement notice to

Plaintiff, via certified mail and personal service through the El Paso County Sheriff,

informing Plaintiff that due to “the current condition of the property, it is my opinion,

after consultation with an engineer, that this property is so deteriorated and
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dilapidated that it is dangerous, unsafe, insanitary and otherwise unfit for human

habitation or occupancy and it is no longer able to be repaired,” directing that

Plaintiff demolish the Building and notifying Plaintiff that “[p]ursuant to section

110.3 of the Property Maintenance Code, your failure to comply with this demolition

order within thirty (30) days will result in the demolition of the property by the City

of Pittston with all costs being charged against the real estate.” See Exhibit “B” at

pp. 1-8. By way of further response, the May 8, 2019, enforcement notice also

informed Plaintiff that he had twenty (20) days to appeal the enforcement action

through the City of Pittston Property Maintenance Code Appeals Board, as set forth

in § 111 of the International Property Maintenance Code. Id.

                             COUNT I
                    DEPRIVATION OF PROPERTY
            UNDER FIFTH AND FOURTEENTH AMENDMENTS

      16.    Denied. Paragraph 16 is an incorporation paragraph to which no

response is required. To the extent a response may be required said averments are

specifically denied.

      17.    Denied.

      18.    Denied.

      19.    Denied.

      20.    Denied.

      21.    Denied.
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      22.    Denied.

      23.    Denied.

      WHEREFORE, Defendant City of Pittston respectfully requests this Court

dismiss the complaint of Plaintiff Douglas Bruce with prejudice.

                            COUNT II
             VIOLATION OF PROCEDURAL DUE PROCESS
            UNDER FIFTH AND FOURTEENTH AMENDMENTS

      24.    Denied. Paragraph 24 is an incorporation paragraph to which no

response is required. To the extent a response may be required said averments are

specifically denied.

      25.    Denied.

      26.    Denied.

      27.    Denied.

      28.    Denied.

      29.    Denied.

      30.    Denied.

      WHEREFORE, Defendant City of Pittston respectfully requests this Court

dismiss the complaint of Plaintiff Douglas Bruce with prejudice.
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                            COUNT III
              VIOLATION OF SUBSTANTIVE DUE PROCESS

      31.    Denied. Paragraph 31 is an incorporation paragraph to which no

response is required. To the extent a response may be required said averments are

specifically denied.

      32.    Denied.

      33.    Denied.

      34.    Denied.

      35.    Denied.

      36.    Denied.

      37.    Denied.

      38.    Denied.

      39.    Denied.

      WHEREFORE, Defendant City of Pittston respectfully requests this Court

dismiss the complaint of Plaintiff Douglas Bruce with prejudice.

                        COUNT IV
  VIOLATION OF THE EIGHTH AND FOURTEENTH AMENDMENTS

      40.    Denied. Paragraph 40 is an incorporation paragraph to which no

response is required. To the extent a response may be required said averments are

specifically denied.

      41.    Denied.
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       42.        Denied.

       43.        Denied.

       44.        Denied.

       45.        Denied.

       46.        Denied.

       47.        Denied.

       48.        Denied.

       49.        Denied.

       50.        Denied.

       WHEREFORE, Defendant City of Pittston respectfully requests this Court

dismiss the complaint of Plaintiff Douglas Bruce with prejudice.

                               AFFIRMATIVE DEFENSES

       51.        Plaintiff’s complaint fails to state a claim upon which relief may be

granted.

       52.        Plaintiff’s claims are barred by the applicable statute of limitations.

       53.        Plaintiff’s claims are barred, in whole or in part, by the statute of

limitations because Plaintiff was aware, no later than June 26, 2019, that the Building

was demolished. See Dylan Fearon, Property owner of demolished Pittston Pub

says       he’s       suing     city,    Fox      56     Wolf,     (June     26,     2019),

https://fox56.com/news/local/property-owner-of-demolished-pittston-pub-says-
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hes-suing-city; see also Conrad Swanson, Douglas Bruce lashes out after town

demolishes      his    building,     The      Gazette,      (June     27,     2019),

https://gazette.com/news/douglas-bruce-lashes-out-after-town-demolishes-his-

building/article_a7ba8222-983e-11e9-a854-ab831a96f4e1.html.

      54.    Plaintiff’s claims are barred, in whole or in part, by the statute of

limitations because Plaintiff was served with Magisterial District Judge Alexandra

Kokura Kravitz’s Orders imposing the complained of fines on May 23, 2019.

      55.    Plaintiff’s claims are barred, in whole or in part, by the statute of

limitations because Plaintiff acknowledged the fines imposed in a June 27, 2019,

interview, and was quoted as follows: “Of the magistrate who handled his municipal

citation convictions, Bruce said: ‘She’s a slob; she’s incompetent; she’s a political

hack,’” and insists “that the City’s actions were illegal, that future liens would

similarly be illegal, and he refused to pay them.” See Conrad Swanson, Douglas

Bruce lashes out after town demolishes his building, The Gazette, (June 27, 2019),

https://gazette.com/news/douglas-bruce-lashes-out-after-town-demolishes-his-

building/article_a7ba8222-983e-11e9-a854-ab831a96f4e1.html;            see      also

Associated Press, Douglas Bruce convicted of citations in Pennsylvania, The

Durango Herald, (May 24, 2019), https://www.durangoherald.com/articles/douglas-

bruce-convicted-of-citations-in-pennsylvania/.
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      56.    Plaintiff’s Fifth Amendment claim brought under the Due Process

Clause fails as a matter of law because Plaintiff does not complain of any action of

the federal government.

      57.    Plaintiff’s Fifth Amendment claim brought under the Takings Clause

fails as a matter of law because Plaintiff owns the Property and has not been deprived

of its economic benefit.

      58.    Plaintiff’s Fifth Amendment claim brought under the Takings Clause

fails as a matter of law because the demolition of the Building was a valid exercise

of the City’s police powers.

      59.    Plaintiff’s Fourteenth Amendment pre-deprivation procedural due

process claim fails as a matter of law because Plaintiff was provided with notice and

an opportunity to be heard.

      60.    Plaintiff’s Fourteenth Amendment pre-deprivation procedural due

process claim fails as a matter of law because Plaintiff failed to avail himself of the

pre-deprivation processes that were available to him under the International Property

Maintenance Code as adopted by the City of Pittston Code.

      61.    Plaintiff’s Fourteenth Amendment post-deprivation claim fails because

he was afforded constitutionally adequate pre-deprivation process.
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       62.    Plaintiff’s Fourteenth Amendment post-deprivation claim fails because

Plaintiff failed to avail himself of state remedies available to him under the

Pennsylvania Eminent Domain Code.

       63.    Plaintiff’s Fourteenth Amendment procedural due process claims fails

because Plaintiff’s due process rights were not violated.

       64.    Plaintiff’s Fourteenth Amendment substantive due process claim fails

as a matter of law because the demolition of Plaintiff’s unsafe Building was

rationally related to a legitimate state interest.

       65.    Plaintiff’s Fourteenth Amendment substantive due process claim fails

as a matter of law because the demolition of Plaintiff’s unsafe Building does not

shock the conscience.

       66.    Plaintiff’s Fourteenth Amendment substantive due process claim is

barred by the more specific provision rule.

       67.    Plaintiff’s Eighth Amendment claims brought under the Excessive

Fines Clause are barred, in whole or in part, by the Rooker-Feldman doctrine.

       68.    Plaintiff’s Eighth Amendment claims brought under the Excessive

Fines Clause are barred, in whole or in part, because they are not ripe.

       69.    Plaintiff’s Eighth Amendment claims brought under the Excessive

Fines Clause fail as a matter of law because the subject fines are not grossly

disproportionate to the offense committed.
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      70.    Plaintiff’s Monell or municipal liability claims fail to state a claim upon

which relief may be granted.

      71.    Plaintiff’s Monell or municipal liability claims fail for lack of an

actionable underlying constitutional claim.

      72.    Plaintiff’s Monell or municipal liability claims fail for lack of an actual

custom, habit, policy or practice that allegedly resulted in the alleged adverse action.

      73.    Plaintiff is not entitled to the recovery of attorneys’ fee and costs.

      WHEREFORE, Defendant City of Pittston respectfully requests this Court

dismiss the complaint of Plaintiff Douglas Bruce, with prejudice.

                                        Respectfully submitted,

                                        s/ Joseph J. Joyce, III
                                        Joseph J. Joyce, III
                                        Jennifer Menichini
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DATED: May 31, 2023
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               UNITED STATES DISTRICT COURT
             MIDDLE DISTRICT OF PENNSYLVANIA
 DOUGLAS BRUCE,
                              CIVIL ACTION - LAW
              Plaintiff,      JURY TRIAL DEMANDED
     v.
                              THE HONORABLE
 CITY OF PITTSTON,            KAROLINE MEHALCHICK
 PENNSYLVANIA,
                              No. 3:23-cv-00711-KM
              Defendant.

                          CERTIFICATE OF SERVICE

      I, Joseph J. Joyce, III, hereby certify that a true and correct copy of the

foregoing amended answer and affirmative defenses to Plaintiff’s complaint was

served upon the following parties and/or counsel of record via ECF as follows:

                               Danielle M. Mulcahey
                               Wright, Reihner & Mulcahey
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                               Scranton, PA 18503
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                           Email: aaron@nonprofitlegalservices.com

                                 Attorneys for Plaintiff Douglas Bruce


                                       s/ Joseph J. Joyce, III
                                       Joseph J. Joyce, III
DATED: May 31, 2023
